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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )      CR. NO. 06-00079 DAE/KSC
                              )
          Plaintiff,          )
                              )      ORDER REFERRING RECOMMENDATION
     vs.                      )      OF INDEPENDENT COUNSEL TO TRIAL
                              )      JUDGE
NAEEM J. WILLIAMS,            )
                              )
          Defendant.          )
_____________________________ )

                 ORDER REFERRING RECOMMENDATION OF
                INDEPENDENT COUNSEL TO TRIAL JUDGE

     This judge was appointed to address certain matters that

counsel for Defendant Naeem J. Williams thought prudent not to

raise with the trial judge.     This judge has now addressed those

matters to the extent possible.     Before this judge is the Report

To the Court From Appointed Independent Counsel, which states

that, in the opinion of Brook Hart, independent counsel for

Williams, the relationship between Williams and his attorneys is

“substantially intact.”    The Report nevertheless recommends

appointment of additional death penalty qualified attorneys to

the defense team and the prosecution team, in light of the

strained relations between the defense and the prosecution.

Independent counsel expresses concern that negotiations between

the existing defense and prosecution attorneys are hampered by

the strained relations.    The recommendation that additional

attorneys be appointed does not implicate the sensitive matters

that caused Williams to seek this judge’s participation in the
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first instance.   This judge sees no reason that the trial judge

should not be the decisionmaker as to appointment of any

additional attorneys.    It is particularly important to leave this

matter to the trial judge because of the possibility that any

newly appointed attorneys could end up participating in the

trial.

     Effective immediately, this judge’s involvement in this case

will cease, and the issue of whether additional counsel should be

appointed is referred to the trial judge.

          IT IS SO ORDERED.

          DATED: Honolulu, Hawaii, October 15, 2008.




                                  /s/ Susan Oki Mollway
                                 Susan Oki Mollway
                                 United States District Judge




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